 

Case 2:15-cr-20652-GCS-DRG ECF No. 1780, PagelD.23908 Filed 06/02/22 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,
Plaintiff, CRIMINAL NO. 15-cr-20652

vs. HON. GEORGE CARAM STEEH
United States District Judge

D-1 BILLY ARNOLD,
a.k.a. “B-Man”,
a.k.a. “Berenzo,”

a.k.a. “Killa,” L le

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/ CLERK'S OFFICE _
U.S. DISTRICT COURT

Defendant.

 

DEFENDANT’S ACKNOWLEDGMENT
OF NINTH SUPERSEDING INDICTMENT

I, BILLY ARNOLD, defendant in this case, hereby acknowledge that I have
received a copy of the Ninth Superseding Indictment before entering my plea, and
that I have read it and understand its contents.

I know that if I am convicted or plead guilty, I may be sentenced as follows:
Count 1: Up to life imprisonment and a fine of not more than $250,000.

Counts 2 and 10: Mandatory imprisonment for life and a fine of not more than
$250,000.

Count 3 and 11: Imprisonment for any term of years or life, and a fine of not more
than $250,000. Imprisonment on Counts 3 and 11 must be consecutive to any other
term of imprisonment.

Counts 4, 5, 6, 8, 12, 13 14, and 16: Up to ten (10) years imprisonment and a fine
of not more than $250,000.

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Counts 7, 9, 15, and 18: Imprisonment for at least 10 years, up to life, and a fine of
not more than $250,000. Imprisonment on Counts 7, 9, 15, and 18 must be
consecutive to any other term of imprisonment.

Count 17: Up to twenty (20) years imprisonment and a fine of not more than
$250,000.

Count 19: Up to ten (10) years imprisonment and a fine of not more than $250,000.

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BILLY ARNOLD
Defendant

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